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American Family Mutual Insurance Company

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA

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WILLIAM J. SMITH,
Plaintiff,
VS.
AMERICAN FAMILY MUTUAL
INSURANCE COMPANY; DOES 1 though

10, inclusive,

Defendants.

CASE NO: 2:13-cv-0551-JAD-NJK
MOTION TO ENFORCE SETTLEMENT

Defendant AMERICAN FAMILY MUTUAL INSURANCE COMPANY (“American

Family”), by and through its attorneys of record, the law firm Lewis Brisbois Bisgaard & Smith,

hereby moves this honorable Court for an Order enforcing the terms of the Confidential and

Binding High/Low Arbitration Agreement that the

Plaintiff and Defendant entered into as a means

of resolving Plaintiff's claims which are the subject of this litigation.

This motion is made upon the attached memorandum of points and authorities, the

Declaration of Pamela L. McGaha filed concurrently herewith, the pleadings and papers on file

herein, and upon such oral argument as shall be allowed at the time of the hearing.

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PERTINENT PROCEDURAL BACKGROUND

Plaintiff filed his Complaint (A-13-676815-C) in the District Court, Clark County, Nevada
on February 14, 2013. (See, Ex. A to Docket 1)'. The subject of Plaintiff's Complaint was an
allegation that Defendant did not fully compensate Plaintiff under the underinsured motorist
coverage (“UIM”) of the insurance policy issued by Defendant. (Id. at 3:5-7). Defendant filed a
petition for Removal Under 28 U.S.C. Sec. 1441 (B) (Diversity Jurisdiction) on April 1, 2013
(Doc. 1). Defendant filed an Answer on April 1, 2013. (Doc. 2).

Subsequent to discovery, Plaintiff and Defendant entered into a Confidential and Binding
High/Low Arbitration Agreement (“Agreement”) wherein the parties agreed that all of Plaintiff's
claims alleged in the Complaint would be resolved by way of the Arbitrator’s decision. (Ex. A,
pg. 3, para. f and g). The Arbitrator’s decision was agreed by the parties to be final and binding.
(Id.). Plaintiff and Defendant entered into a Stipulation and Order for Private Binding Arbitration
and To Stay Court Proceedings (“Stipulation on Agreement”) on February 12, 2014, and the
Stipulation on Agreement was filed with the court on February 13, 2014. (Doc. 18). Pursuant to
the Stipulation on Agreement filed with this Court, the Arbitrator would render a decision
regarding Plaintiff's claims, and the award from the Arbitrator would constitute a final
determination of all causes of action set forth in Plaintiff's Complaint. (Id. at 2:3-4). Upon
rendering the decision by the Arbitrator, the parties agreed to stipulate to dismiss this action, with
prejudice, reserving to this Court the authority to enforce the Agreement. (Id. at 2:5-7).

The parties initially retained attorney Greg Hafen to serve as Arbitrator for this matter, but
due to a subsequent conflict, the parties were required to retain another person to serve as
Arbitrator. On April 6, 2015, the parties entered into an agreement with attorney Floyd Hale of
JAMS that he would serve as the Arbitrator for this case. (Ex. B, Stipulation for Arbitration and

Selection of Arbitrator). The Arbitration hearing went forward on May 12, 2015, and a Final

' The Court may take judicial notice of all documents filed in this case and of the docket. See Fed. R. Evid.
201; In re Henderson, 197 B.R. 147, 156 (Bankr. N.D. Ala. 1996) (“The court may take judicial notice of
its own orders and of records in a case before the court, and of documents filed in another court.”) (citations
omitted); see also In re Penny, 243 B.R. 720, 723 n.2 (Bankr. W.D. Ark.2000).

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Arbitration Award was served on the parties on May 14, 2015. (Ex. C). Plaintiff was awarded a
total claim value of $54,376.75, which was subject to application of allowable offset of $20,000.
Thus, the final amount Defendant was required to pay, per the terms of the Agreement, was
$34,376.75.

Defendant has sought the cooperation of Plaintiff in confirming that Medicare has no
recovery rights to the proceeds from the Arbitration Award, so Defendant could issue the
settlement draft with the proper payees included on the settlement draft. To date, Plaintiff has not
provided this information despite repeated requests. Defendant could simply issue the settlement
draft including Medicare as a payee, but counsel for the parties understand this necessitates a
lengthy process for the Plaintiff to wait for the Medicare recovery system to advise it was not
seeking to recover any of the proceeds. Since counsel for the parties are in agreement that the
nature of the Final Award does not appear to include an award for damages related to any medical
treatment paid for by Medicare, but that Medicare had paid for medical expenses for which
Plaintiff was not awarded any damages, it was determined that confirmation by Plaintiff regarding
the Medicare status would be appropriate in this instance. (See Ex. D, Medicare Affidavit).

Defendant also provided a proposed Release and Indemnity Agreement (“Release”) for
Plaintiff's signature as required under the Agreement. (Ex. A at pg. 6 para. 6). A copy of the
proposed Release is attached as Ex. E. The Agreement also required Plaintiff to execute a
dismissal with prejudice of his lawsuit (“SAO for Dismissal”). (Ex. A at pg. 6 para 4). The
Agreement requires Plaintiff to execute the Stipulation on Agreement, the Release and the SAO
for Dismissal. (Id. at pg. 7 para 11, pg. 8 para 19).

Despite numerous requests to Plaintiff to provide the Medicare information, it has not been
forthcoming. (Ex. F, letter to Plaintiff's counsel). Plaintiff has not advised Defendant of any
objection to providing the Medicare information, nor has Plaintiff provided any objection to the
language in the Release or the SAO for Dismissal. Accordingly, it appears Plaintiff is simply
dissatisfied with the amount of the Final Award issued in this matter. Thus, it became necessary
to file this motion. Defendant seeks an Order from this court to enforce the terms of the

Agreement.

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FACTS

This lawsuit arises from injuries Plaintiff alleged to have sustained in an accident that
occurred in California on the I-405 freeway. Plaintiff recovered liability limits from the tortfeasor
involved in the accident, and received payment under the medical payment coverage of his policy.
Plaintiff also presented a UIM claim under his insurance coverage through Defendant. Plaintiff
approximately 61 years old at the time of the accident and claimed medical expenses in excess of
$70,000, including expenses related to a hip surgery. The value of his UIM claim was in dispute
and the parties agreed to resolve that dispute by way of a binding arbitration.

DISCUSSION

Nevada law provides for parties to enter into agreements which are binding on the parties
so long as the parties have agreed to all material terms. Plaintiff and Defendant entered into an
enforceable Agreement which is binding upon the parties. The material terms of the Agreement
were specifically stated in the Agreement with both sides having an opportunity to negotiate the
material terms of the Agreement. The Agreement is signed and dated by Plaintiff and Defendant.
Accordingly, Plaintiff acknowledged the material terms of the Agreement to which he agreed to be
bound.

A mutual agreement to resolve Plaintiffs claims in binding arbitration is essentially a
settlement agreement, with objective terms of the agreement considered and negotiated by the
parties. The parties were free to enter into an agreement to utilize a binding arbitration to settle
the claims which were the subject of Plaintiff's lawsuit. The Agreement entered into by the
parties is a contract, and its construction and enforcement are governed by principles of contract

law.” May v. Anderson, 121 Nev. 668, 672, 119 P.3d 1254, 1257 (2005). An offer and

acceptance, meeting of the minds, and consideration are basic principles of contract law. Id.
When parties agree as to a contract’s essential terms, it is evidence of a meeting of the minds. Id.
In determining which terms of the contract are essential, the courts look to the agreement, the
context of the agreement, and the conduct of the parties subsequent to execution of the contract.
Id. The “construction and enforcement of settlement agreements are governed by principles of

local law.” Jones v. McDaniel, 717 F.3d 1062, 1067 (9 Cir. 2013) (internal quotation marks

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omitted). "Under Nevada law, 'a settlement agreement['s] construction and enforcement are

governed by principles of contract law.'" Id. (citing May v. Anderson, 121 Nev. 668, 119 P.3d

1254, 1257 (2005)).

In this case, the terms of the Agreement were definite and reasonably certain. The
objective terms of the Agreement evidence a mutual understanding of the binding nature of the
Agreement. Defendant promised to pay the amount of the Final Award, subject to offsets which
were spelled out in the Agreement, and Plaintiff agreed to accept same in full satisfaction of the
claims as alleged in his lawsuit. Further, both parties agreed the terms of the Agreement were
final. The Agreement does not provide that either party can repudiate the Agreement if the
amount of the Final Award was unsatisfactory.

Once the Agreement was executed, Plaintiff again acknowledged his acquiescence to the
terms of the Agreement upon filing the Stipulation on Agreement with this court. (Doc. 18).
Further, the parties appeared at the arbitration hearing and presented their case to the Arbitrator.
There was no conduct subsequent to Plaintiff signing the Agreement which would evidence any
type of misunderstanding or mutual mistake as to the terms of the Agreement. Plaintiff did not
dispute the terms of the Agreement prior to the arbitration hearing, or at the hearing. Thus, the
objective evidence by Plaintiff’s conduct is that Plaintiff understood the terms of the Agreement
and that he agreed the decision by the arbitrator would be a final adjudication of his claims. The
objective terms of the Agreement and subsequent conduct of the parties evidenced mutual
promises exchanged by the parties which constitute sufficient consideration to enforce the
Agreement as a valid and binding contract.

Plaintiff has not provided Defendant with any basis upon which Plaintiff believes he is not
bound by the terms of the Agreement. It appears Plaintiff may simply be dissatisfied with the
amount of the Final Award and is refusing to comply with the Agreement. Without Plaintiff's
cooperation, this matter cannot be finalized and Defendant is unable to obtain a dismissal of this
lawsuit with prejudice. The essential terms of the parties’ intent and mutual agreement are
memorialized in the Agreement. There can be no misunderstanding that the Final Award was

intended to be just that, a final determination of Plaintiff's damages.

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CONCLUSION

The Stipulation on Agreement and the Agreement itself, reserves to this Court the right to
enforce the terms of the Agreement. (Id. at 2:5-7). Accordingly, Defendant respectfully requests
this Court to Order Plaintiff to sign the Release and Indemnity Agreement (attached hereto as Ex.
E), the Stipulation and Order for Dismissal (attached hereto as Ex. G), and to provide a copy of the
Medicare Affidavit form (attached hereto as Ex. D) which was previously provided for his
signature so Defendant can issue a settlement draft including the proper payees on the draft.

DATED this 4 day of December, 2015.

LEWIS BRISBOIS BISGAARD & SMITH LLP
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CERTIFICATE OF MAILING

I HEREBY CERTIFY that on the __ day of December, 2015, I served a true and correct
copy of the foregoing MOTION TO ENFORCE SETTLEMENT by depositing a copy of same
in the United States Mail at Las Vegas, Nevada postage fully prepaid, addressed to:

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that onthe _ day of , 2015, I electronically filed the

Motion to Enforce Settlement with the Clerk of the Court through Case Management/Electronic
Filing System.

Richard A. Harris, Esq.
801 S. 4" Street

Las Vegas, Nevada 89101
Attorneys for Plaintiff

Alison Brasier, Esq.
CLOWARD BRASIER HICKS
721 S. Sixth Street

Las Vegas, Nevada 89101
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Employee of LEWIS BRISBOIS
BISGAARD & SMITH LLP

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DEFENDANT AMERICAN FAMILY MUTUAL
INSURANCE COMPANY'S MOTION TO
ENFORCE SETTLEMENT

EXHIBIT “A”
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CONFIDENTIAL AND BINDING HIGH/_LOW ARBITRATION AGREEMENT

WHEREAS:
A. The Arbitration Agreement. This Confidential and Binding High/Low Arbitration

Agreement is sometimes referred to herein as “the Arbitration Agreement”.

B. The Accident. Plaintiff William Smith (“Smith’ or “Plaintiff’) alleges that he

sustained personal injuries and other damages as a result of an automobile accident

which occurred on February 17, 2007, when the vehicle he was driving was rear-ended
by a 2002 Toyota Camry driven by Tanya Morro (“the Accident’).

Cc. The Policies. On the date of the Accident, Smith was the named insured under a

policy of motor vehicle insurance issued by American Family Mutual [nsurance

Company (“AFMIC*), Policy No. 1165-9939-07-12-FPPA-NV (the “Policy”). The Policy

included Underinsured Motorist (“UIM”) coverage of $100,000/$300,000 and Medical

Payments coverage in the amount of $5,000.00.

On the date of the Accident, the at fault driver, Tanya Morro, was insured under a
policy of motor vehicle insurance issued by Mercury Insurance Company (“Mercury”),
Claim No. 2007 0016 001200-87/AQ001200 with Bodily Injury liability limits of $15,000
(the “Tortfeasor’s Policy’).

D. The Prior Payment. Mercury paid to Smith the $15,000 per person BI liability
limits available under the Tortfeasor's Policy. Also, AMFIC paid $5,000.00 on behalf of
Smith for payment of his medical bills, exhausting his Medical Payments coverage ,
under the policy. Thus, Plaintiff has received a total of $20,000.00 as payment prior to
the execution of this agreement This payment shall be referred to as the “Prior
Payment” and as set forth ahead, the Arbitration Finding shall be reduced by this Prior
Payment pursuant to the mechanism set forth in Paragraph “2.”

E. The UIM Claim. Smith has asserted a claim for Underinsured Motorist benefits

under the Policy (the “UIM Claim’).

Confidential and Binding __. (William Smith) ry
High/Low Arbitration Agreement

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F. The Lawsuit. On February.14, 2013, Smith filed a lawsuit in the Eighth Judicial
District Court of Nevada, entitled William Smith v. American Family Mutual Insurance
Company, Case No. A-13-676815-C, alleging a cause of action for Breach of Contract
(“the Lawsuit”). On April 1, 2013, AFMIC removed the Lawsuit to the United States
District Court for the District of Nevada, where it is pending as Case No. 2:13-cv-0551-
JCM-NJK.
G. TheParties. Smith and AFMIC (hereafter the “Parties”) enter into the Arbitration
Agreement in order to provide for a mechanism for final and binding adjudication of the
value of Smith’s UIM Claim. The parties further agree that upon completion of the
arbitration, and in exchange for payment of any amount required pursuant to the
Arbitration Agreement, Smith will dismiss the lawsuit with prejudice and execute a
Confidential Release and Indemnity Agreement, thereby finally resolving all claims
arising out of the Accident, the UIM Claim and the Lawsuit.

_ NOW THEREFORE, IT IS AGREED:

1. The Arbitration. The Parties agree to submit Smith’s claim for personal
injuries arising out of the Accident to a final and binding arbitration (the “Arbitration’).
The sole issue to be adjudicated at the Arbitration will be the value of any personal
injury damages determined by the Arbitrator to have resulted from the Accident, as the
liability of the tortfeasor is not at issue. The Arbitration will therefore not include any
evidence or argument relating to liability. The Arbitration will proceed pursuant to the
following terms:

a. The Parties shall immediately execute and file a Stipulation And

Order For Private Binding Arbitration And To Stay Court Proceedings concerning

the Lawsuit, in the form attached hereto as Exhibit A.

b. The Arbitration will take place at a time, date, and place mutually
convenient to and to be agreed upon by the Parties;

C. Mr. Gregory T. Hafen will act as Arbitrator. 4
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High/Low Arbitration Agreement

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d. The Arbitrator will be charged with deciding only the value of
Smith’s personal injuries and any wage loss related thereto as determined by the
Arbitrator to have resulted from the Accident.

é. Neither counsel! nor the parties herein shail communicate directly
with the Arbitrator regarding the merits of the case, except in the presence of, or
with reasonable notice to, all of the other parties.

f. - The Arbitration shall be the sole means of resolving the dispute. By
entering the Arbitration Agreement, the parties knowingly and voluntarily waive
their rights to a trial by jury and to any appeal;

g. The Arbitrator’s decision shall be final and binding on the Parties;

h. The Parties shall not advise the Arbitrator of the Tortfeasor’s policy,
the limits of the Tortfeasor’s policy, the AFMIC policy, the limits of the AFMIC
policy, the Prior Payment, or of any of the terms of the Arbitration Agreement;

i. The parties agree that discovery may be conducted as follows:

1. Plaintiff providing signed HIPPA medical and employment
authorizations to AFMIC’s counsel.

2. Each party shall be entitled to propound 20 interrogatories,
20 requests to produce, and 20 requests for admissions.

3. The Parties may take the depositions of the Plaintiff, fact
witnesses (including Plaintiff's treating physicians), and identified
experts.

4, AFMIC shall be entitled to a records review and Independent
Medical Examination.

j. The Parties’ may introduce reports from expert witnesses in lieu of
live testimony at the Arbitration hearing.

k.. lt is expressly agreed that Plaintiffs Health Care Providers and any

experts retained in this matter will not be called to appear at the Arbitration

Confidential and Binding wh (William Smith)
High/Low Arbitration Agreement

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Hearing, but their deposition testimony, records, and/or reports will be presented
in lieu of live testimony.

f. With respect to the medical records, medical bills and expert
reports, and subject to the reservations set forth in subsection “m” below, the
Parties stipulate (1) that the medical records, medical bills, and expert reports
that have been disclosed in the Lawsuit or will subsequently be disclosed are
authentic; i.e., that the medical records, bills, and reports are true and correct
copies of records and reports generated on the dates reflected in the records and
authored by the health care providers designated on the records; (2) that the
records, bills, and reports themselves fall within the “[rjecord of regularly
conducted activity” exception to the hearsay rule (FRE 803(6)); and (3) that no
further foundation shall be required for admissibility of the medical records, bills
and reports:

m. Subject to the stipulations set forth above, the Parties reserve their
rights (1) to raise any hearsay objection for individual witness statements
contained within the medical records and/or expert reports (i.e., hearsay within
hearsay); (2) to challenge the admissibility of any record or expert report on
relevance or other grounds, other than those grounds reflected in the stipulation
set forth above; (3) to challenge the reasonableness and necessity of any of the
medica! care and treatment in the medical records and/or expert reports; (4) to
challenge the reasonableness of the amount of any medical bills that have not

‘been produced in the Lawsuit; (5) to challenge the reasonableness of the cost of
any proposed future medical treatment (including any proposed future surgery);
and (6) to challenge the causal connection between any of Smith’s claimed
damages, and/or related expenses, to the Accident;

fn. In deciding the damages to be determined pursuant to paragraph

“d", the Arbitrator shall apply Nevada law. The Arbitrator shall consider only the ~ -

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High/Low Arbitration Agreement

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evidence and argument presented by counsel and shall not conduct any
independent research or investigation in reaching his decision.

0. There shall be no award of punitive damages, attorneys’ fees,
costs, or interest. The Parties hereby foréver waive and relinquish any claim of
right to such items in consideration of the payment to be potentially made
pursuant to Section 2 below;

p. The Arbitrator shall not award any party any amount of the
Arbitrator’s fees;

q. The Arbitrator shall enter a finding as follows: “Having considered
the evidence and the arguments of counsel, | find the value of Plaintiff William
Smith’s damages to be $ .” This finding shall be signed by the
Arbitrator and will be Known as the “Arbitration Finding.” The form to be provided
to the Arbitrator is attached hereto as Exhibit B.

r. Upon entering the Arbitration Finding, the Arbitrator’s duties shall

be concluded.

2. The New Payment. Within thirty (30) days of the Arbitration Finding,

AFMIC shall make payment to Smith and the Richard Harris Law Firm (the “New
Payment’), as follows:

a. If the Arbitration finding is TWENTY THOUSAND DOLLARS
($20,000.00) or less, AFMIC will pay NOTHING to Smith;

b. lf the Arbitration finding is over TWENTY THOUSAND DOLLARS
($20,000.00), but less than ONE HUNDRED AND TWENTY THOUSAND
DOLLARS ($120,000.00), AFMIC will pay the amount of the award, less an offset
of TWENTY THOUSAND DOLLARS ($20,000.00).

c. If the Arbitration finding is ONE HUNDRED AND TWENTY
THOUSAND DOLLARS ($120,000.00) or greater, AFMIC will pay ONE

HUNDRED. THOUSAND DOLLARS ($100,000.00).

Confidential and Binding
High/Low Arbitration Agreement

we (William Smith)

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In no event will AFMIC be required to pay Smith a New Payment of more than
ONE HUNDRED THOUSAND DOLLARS ($160,000.00) in this matter.

3. Minimum Recovery. Regardless of the final determination of damages,

Plaintiff shall be entitled to keep all Prior Payment as his minimum recovery.

4. Dismissal With Prejudice of the Lawsuit. Upon receipt of the New

Payment, or if no New Payment is owed based on the Arbitration Finding then upon

. issuance of the Arbitration Finding, Smith and his attorneys shall execute a Stipulation
and Order for Dismissal of the Lawsuit, With Prejudice, in the form attached hereto as
Exhibit C. . -

5. Sole Recovery. Smith understands ‘and agrees that the Prior Payment
and the New Payment, if any, constitute his only recovery from AF MIC. for any and all
actual or potential claims arising from the Accident, the Policy, the UIM Claim, and the
Lawsuit. The execution of the Arbitration Agreement will not impair of affect any Party’s

rights to proceed with the Arbitration or to sue on the Arbitration Agreement to enforce

any of its terms. .

6. Release Following Arbitration. In consideratiori of the Arbitration
Agreement and the New Payment, and subject only to the right to pursue binding
arbitration and recover the New Payment, if any, Smith hereby agrees that upon receipt
of the New Payment, or if no New Payment is owed based on the Arbitration Finding
-. then upon issuance of the Arbitration Finding, Smith and his attorneys shall execute the
Confidential Release and Indemnity Agreement,

7. No Representations Made. No representation of any kind conceming any
subject has been made by or on behalf of AFMIC, including its past and present
employees, as well as iis past, present and future parent and subsidiary companies,
affiliates, predecessors, successors, assigns, spouses, officers, directors, agents,

servants, employees, attomeys, legal representatives, heirs, executors, administrators,

Confidential and Binding ye (William Smith)
High/Low Arbitration Agreement

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beneficiaries, personal representatives, and insurers, which has in any way influenced
Smith’s decision to enter into the Arbitration Agreement.

8. Reliance on Own Counsel. in entering into the Arbitration Agreement,

Smith represents that he has relied upon the legal advice of an attorney, who is the
attorney of his own choice, and that the terms.of the Arbitration Agreement have been
completely read and explained to him by that attorney, and that he fully understands and
voluntarily accepis those terms.

9. Warranty. Smith hereby warrants and covenants that he is over the legal
age of majority in the State of Nevada, and in the State where the Arbitration Agreement
is executed if other than Nevada.

10. Binding on Others. Smith agrees to and does hereby bind himself, his
attorneys, legal representatives, successors, heirs, administrators, executors, assigns,

and personal representatives to the Arbitration Agreement and to each of its terms and

conditions. ©

11. Execution of Documents. Smith agrees to execute all documents and to
do all things necessary to fully effectuate the terms of the Arbitration Agreement,
including but not limited. to Exhibits A, B, and C hereto.

12. Post-Execution Survival. The representations, warranties, agreements,

and promises made in the Arbitration Agreement shall survive the execution of the
Arbitration Agreement.

13. Costs and Fees. Each party to the Arbitration Agreement agrees to bear
his/its own costs and attomeys’ fees with respect to the Accident, the Policy, the UM
Claim, the Lawsuit and the Arbitration, and with respect to the negotiation, drafting; and
execution of the Arbitration Agreement.

14. Execution in Parts/Counterparts. The Arbitration Agreement may be
executed in any number of counterparts, each of which shall be deemed to be an

original, and all of which together shall be deemed one and the same instrument. The

Confidential and Binding \? (William Smith)
High/Low Arbitration Agreement

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Arbitration Agreement is not and shall not be effective, however, unless and until each

party executes the original and/or a counterpart.

15. Signatory Representations. Each of the undersigned declares and
represents that he or she is competent to execute this instrument, and that he or she is
duly authorized, and has the full right and authority, to execute the Arbitration
Agreement on behalf of the party for whom he or she is signing.

16. Amendments, Modifications, Addendums and Revisions. No amendment,

. modification, addendum, or revision of the Arbitration Agreement shall be valid unless it
is in writing and signed by all of the Parties, in which event there need be no separate
consideration therefore.

17. | Waiver. No waiver or indulgence of any breach of the Arbitration
- Agreement shall be deemed or construed as a waiver of any other breach or of any
other provision of the Arbitration Agreement, nor shall any such breach affect the
enforceability of any part or all of the Arbitration Agreement. No party shall be deemed
to have waived any portion of the Arbitration Agreement unless executed in writing by
the waiving party.

- 18. Satisfaction of Liens. Smith hereby warrants, represents and covenants
that he will satisfy any outstanding liens for health care or other services provided to
Smith arising out of or in any way relating to the injuries he allegedly suffered arising
from the Accident out of the New Payment. This provision includes liens that have been
or may be or could have been asserted by any and all attorneys, health care providers,
and/or health care insurers. -

19. Dismissal of the Lawsuits. Smith agrees and acknowledges that a portion
of the consideration received and promised under the Arbitration Agreement is in return
for his agreement to execute the documents attached as Exhibits A, B, and C hereto in
the manner and at the times agreed upon herein.

o

Confidential and Binding - WW" (William Smith)
High/Low Arbitration Agreement

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4845-4145-4871.1

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20. Assignment of Claims. Smith represents, warrants, and agrees that he is
the lawful owner of the right, title, and interest in and to every claim or matter to be
‘released pursuant to the Accident, the Policy, the UM Claim, the Lawsuit and the
Arbitration and has not assigned or transferred, nor purported to or attempted to assign —
or transfer, to any person or entity any claim or other matter released herein. Smith
warrants that he will not in the future assign or transfer any claim or other matter
released herein and will defend, indemnify, and hold AFMIC harmless from any and all
claims arising out of or relating to any assignment or transfer, and/or any purported or
attempted assignment or transfer contrary to the terms of this paragraph.

21. Other Actions, Suits, Proceedings or Claims. Smith and his attorneys

agree that they have not and will not commence, maintain, initiate or prosecute, or
cause, encourage, assist, advise, or cooperate with any other person or entity to
commence, maintain, initiate or prosecute, any action, suit, proceeding, or claim before ~
any court, administrative, or quasi-legal body or agency (whether state, federal, private,
or otherwise}, against AFMIC, or any of them, from, concerned with, or otherwise related
to the Accident, the Policy, the UM Claim and the Claims Handling.

22.  CGonfidentiality Required. |t is expressly understood and acknowledged ~
that a material condition of the Arbitration Agreement is that Smith and his attorneys
keep the amount, existence, and terms of the Arbitration Agreement confidential,
divulging the terms of the Arbitration Agreement only as required by law, or with the
express, written permission of AFMIC. It is also expressly understood and
acknowledged that a material condition of the Arbitration Agreement is that Smith and
his. attorneys keep the amount and existence of the Arbitration Finding and the New
- Payment, if any, confidential, divulging this information only as required by law, or with
the express, written permission of AFMIC. It is, however, permissible to disclose ~
. information as is necessary for procurement of tax, legal, and/or financial advice, or as

may otherwise be ordered by a court of competent jurisdiction or appropriate

Confidential and Binding W_ (William Smith)
High/Low Arbitration Agreement

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governmental entityfagency. Smith may also disclose the terms of the Arbitration
Agreement to lien holders and/or medical providers in order to resolve outstanding
balances, but only if said lien holders and/or medical providers also agree to keep the
amount, existence, and terms of the Arbitration Agreement and this settlement

confidential.

23 Laws of Nevada Apply. The Parties understand and agree that the law of

the State of Nevada governs the terms and enforceability of the Arbitration Agreement.
24 Useof Titles. The Parties understand and agree that the titles used in the

Arbitration Agreement are for purposes of organization only, and are not to be
considered as terms of the Arbitration Agreemeni, nor are they to be used in

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Confidential and Binding A (william Smith)
High/Low Arbitration Agreement

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a

interpretation of the Arbitration Agreement or the intention of the Parties entering into
the Arbitration Agreement.

| HAVE READ THE ARBITRATION AGREEMENT IN ITS ENTIRETY, UNDERSTAND
IT AND SIGN IT VOLUNTARILY.

DATED this “ \ ( day of Teeneeat

STATE OF NEVADA i}
)ss.

COUNTY OF (lay & )

BEFORE ME, a Notary Public, on this20" Gay ofdanuary _, 2019 personally
appeared William Smith, known to me to be the person named herein, and who
executed the foregoing “Confidential and Binding High/Low Arbitration Agreement”, and
who acknowledged that he voluntarily executed the same.

Vice peck
NOTARY PUBLIC in and for said
COUNTY and STATE

7 . VICTORIA £ RIGNTER E
; Notary Public, State of Nevada P
ae Appointment No. 12-9087-1 &
Saye My Appt. Expires Oct 24, 2016

APPROVED AS TO FORM AND CONTENT:
RICHARD HARRIS LAW FIRM

AlfSon Brasier, Esq.

Nevada Bar No. 010522
Attorney for Plaintiff

Confidential and Binding we (William Smith)

High/Low Arbitration Agreement

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|! HAVE READ THE ARBITRATION AGREEMENT IN ITS ENTIRETY, UNDERSTAND
IT AND SIGN IT VOLUNTARILY.

DATED this 9S ay of Work. ory"

(\ ~~

)
On behalf oKAeherican Mutual/Ingurance
Company 1 oN

STATE OF NEVADA )

county or (AA(E

BEFOR Me Notary Public, on thish Susy of Ma , 2014 personally

appeared OG. \ ISP , Known to me to be the person named herein, and
who executed the foregoing “Confidential and Binding High/Low Arbitration Agreement”,

and who knowledged that he or she voluntarily executed the same. .

NOTARY PUBLIC in and for said\_/ KYLIE M. DAY

MOA and STATE \ ga PUBLIC
Y My Commission Expires: 1-1-2016
“—— Cartficate No: 08-6413-1

APPROVED AS TO FORM AND CONTENT:

LEWIS BRISBOIS-BISGAARD & SMITH

Co 42 LY

Robert W. Freeman NY

Nevada Bar No. 03062

Pamela L Mcgaha

Nevada Bar No. 08181

Attomeys for Defendant

Confidential and Binding == ° __ William Smith)

High/Low Arbitration Agreement

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- Freeman, Kristen

From: Freeman, Kristen

Sent: Tuesday, April 08, 2014 11:18 AM
To: alison@richardharrislaw.com
Subject: AmFam adv. Smith
Attachments: fully executed arb agreement.pdf

Hello Ms. Braiser. Attached is the fully executed Binding Arbitration Agreement.
Have a great day.

Kristen

[ EWI S Kristen Freeman
rHe 1 A eh Scat ag os
BRIS BOIS 6385 S, Rainbow Bivd,, Suite 600
see , Las Vegas, NV 89118

Email: ktristen.freeman@lewisbrisbois.com

702.693.4363 (Direct)
702.893.3789 (Facsimile)

Please consider the environment before printing this e-mail. Conserve, Reduce, Re-use, Renew and Recycle!

NOTICE: This electronic message and its attachments contain information from Lewis Brisbois Bisgaard & Smith that are confidential
work product and communication. The information is intended to be for the use of the addressee only. If you are not the addressee,
do not read, distribute, or reproduce this transmission. Any disclosure, copying, distribution, or use of the contents of this message is
prohibited. If you received this message in error, please notify the sender immediately by return email or at (702) 893-3383. Thank

you,
Case 2:13-cv-00551-JCM-NJK = Document 22°. Filed 12/09/15. Page 22 of 46

DEFENDANT AMERICAN FAMILY MUTUAL
INSURANCE COMPANY’S MOTION TO
ENFORCE SETTLEMENT

EXHIBIT “B”
Case 2:13-cv-00551-JCM-NJK Document 22 Filed 12/09/15 Page 23 of 46

ZoG\4- UFS

Ct
CL

Arbitration Matter between:

[Claiming Party} Wir an ¢ wl Reference Number:

Vv,
Resonne as] Annet Can Fane lag

STIPULATION FOR ARBITRATION AND
SELECTION OF ARBITRATOR

It is stipulated and agreed by the Parties to submit all disputes, claims or controversies to
neutral, binding arbitration at JAMS, pursuant to the JAMS Arbitration Administrative
Policies and, unless otherwise agreed in writing by the parties, to the applicable JAMS
Arbitration Rules and Procedures.

The Parties hereby agree to give up any rights they might possess to have this matter

litigated in a court or jury trial. ale
Parties agree that Y) od shall serve as Arbitrator in this matter and that no

party may have ex-parte cojamunications with the Arbitrator. Any necessary
communication with the Arbitrator must be initiated through the case manager. Parties
agree that service of all documents shall be made by regular US mail.

BY: J ' Bg
FOR: Cunh€ € FOR: Litera n Lect bassin woC
DATE: He DATE: y Jee JIS

BY: BY:

FOR: FOR:

DATE: DATE:

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COMPLETION OF THIS SECTION IS REQUIRED FOR CLAIMS INITIATED IN CALIFORNIA

A.

i

Please check here ifthis — JIS or [ JISNOT a CONSUMER ARBITRATION as defined by
California Rules of Court Ethics Standards for Neutral Arbitrators, Standard 2(d) and (6):

“Consumer arbitration’ means an arbitration conducted under a pre-dispute arbitration provision contained in a
contract that meets the criteria listed in paragraphs (1) through (3) below. “Consumer arbitration’ excludes
arbitration proceedings conducted under or arising out of public or private sector labor-relations laws, regulations,
charter provisions, ordinances, statutes, or agreements.

(1) The contract is with a consumer party, as defined in these standards;

(2) The contract was drafted by or on behalf of the non-consumer party; and

(3) The consumer party was required to accept the arbitration provision in the contract.

“Consumer party” Is a party to an arbitration agreement who, in the context of that arbitration agreement, Is any of
the following:

(1) An individual who seeks or acquires, including by lease, any goods or services primarily for personal,
family, or household purposes including, but not limited to, financial services, insurance, and other
goods and services as defined in section 1761 of the Civil Code;

(2) An individual who is an enrollee, a subscriber, or insured in a health-care service plan within the
meaning of section 1345 of the. Health and Safety Code or health-care insurance plan within the
meaning of section 106 of the Insurance Code:

(3) An individual with a medical malpractice claim that is subject to the arbitration agreement; or

(4) An employee or an applicant for employment in a dispute arising out of or relating to the employee’s
employment or the applicant's prospective employment that is subject to the arbitration agreement.
if Respondent disagrees with the assertion of Claimant regarding whether this tS or IS NOT a CONSUMER

ARBITRATION, Respondent should communicate this objection in writing to the JAMS Case Manager and
Claimant within seven (7) calendar days of service of the Demand for Arbitration.

if this is an EMPLOYMENT matter, Claimant must complete the following Information:

Effective January 1, 2003, private arbitration companies are required to collect and publish certain information at
least quarterly, and make it available to the public in a computer-searchable format. in employment cases, this
includes the amount of the employee's annual wage. The employee's name will not appear in the database, but
the employer's name will be published. Please check the applicable box below:

Annual Salary:
___ Less than $100,000 ____ More than $260,000
__. $100,000 te $250,000 ____ Decline to State

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DEFENDANT AMERICAN FAMILY MUTUAL
_ INSURANCE COMPANY’S MOTION TO
ENFORCE SETTLEMENT

EXHIBIT “C”
Case 2:13-cv-00551-JCM-NJK Document 22 Filed 12/09/15 Page 26 of 46

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Cr
FLOYD A. HALE, Esq. PL
Arbitrator
Nevada Bar No. 18733800 Howard Hughes Pkwy, 11" Fl.
Las Vegas, NV 89169
email: fhale@floydhale.com
Ph: (702) 457-5267
Fax: (702) 437-5267
JAMS
Las Vegas, Nevada
)
WILLIAM SMITH, )
) Jams Ref. No. 1260003315
Claimant, )
)
vs. }
)
AMERICAN FAMILY MUTUAL ) FINAL ARBITRATION AWARD
INSURANCE COMPANY, )
. )
Respondent. }
)

This personal injury action was arbitrated on May 12, 2015. Counsel for the parties have
requested that a brief Finding and Award be entered without a narrative Arbitration Decision. The
parties did stipulate that the Arbitrator could consider the Arbitration Briefs and exhibits submitted
prior to the Arbitration Hearing. In addition to the briefs and exhibits, William J. Smith testified at
the Arbitration Hearing.

I FIND that based upon the medical information and testimony provided, particularly the
November 20, 2009, report of Reynold L. Rimoldi, M.D., and the October 24, 2012, supplemental
report of Patrick J. Brandner, M.D., that the hip replacement surgery performed on William Smith
was not directly caused by the February 17, 2007, motor vehicle accident. I also FIND that based

upon the medical records referenced, that the hip replacement surgery was accelerated to an earlier
Case 2:13-cv-00551-JCM-NJK Document 22 Filed 12/09/15 Page 27 of 46

date, with related pain and suffering, due and to the February 17, 2007 accident.
AWARD
I award William J. Smith the following medical expenses and pain and suffering:

Medical expenses:

Spinal Rehabilitation Centers $1,845.00
Compass Centers 461.00
Strehlow Radiology Consulting 85.00
Nevada Imaging Centers 1,410.75
Advanced Pain Consultants 575.00
Total Medical Damages Awarded $4,376.75
Pain and Suffering for Accelerated Hip
Replacement surgery $50,000.00
TOTAL AWARD
DATED: May 13, 2015. MV /,
By:
Arstatee PHALE -

Arstatee
3800 Howard Hughes Pkwy. 11 FI.
Las Vegas, NV 89169

CERTIFICATE OF SERVICE BY EMAIL

I hereby certify that on the he day of May , I emailed a true and correct copy of the
foregoing, addressed to:

Alison Brasier, Esq. Pamela McGaha, Esq.
Cloward Hicks & Brasier, PLLC Lewis Brisbois Bisgaard & Smith
721 S. 6" St. 6385 S. Rainbow Blvd., Suite 600
Las Vegas, NV 89101 Las Vegas, NV 89118
x ten @chblawyers. com Pamela. McGaha@lewisbrisbois.com
VE Claimant Attorneys for Respondent
&é
By: Ly. Ly LA DP cancun vet,

J loyee of JAMS

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DEFENDANT AMERICAN FAMILY MUTUAL
INSURANCE COMPANY’S MOTION TO
ENFORCE SETTLEMENT

EXHIBIT “D”
Case 2:13-cv-00551-JCM-NJK Document 22 Filed 12/09/15 Page 29 of 46

MEDICARE AFFIDAVIT

STATE OF NEVADA )
)ss
COUNTY OF CLARK )

William Smith, after being duly sworn under oath, deposes and says:

1. That | am the Plaintiff in this lawsuit against American Family Mutual
Insurance Company, filed in United States District Court assigned case number
2:13-cv-0551-JAD-NJK.

2. That | am am not (check one) currently eligible for
Medicare benefits.

3. Thatl am am not (check one) currently receiving Medicare
benefits.

4. That none of the medical expenses for which | was awarded
compensation per the binding arbitration award for this matter was paid for by
Medicare.

5. That lam no longer receiving medical treatment or plan to in the future
related to the subject incident.

6. Medicare has has not (check one) asserted a lien to
recover proceeds through any settlement of this case/claim.

7. That! will satisfy any Medicare Lien from the settlement proceeds.

8. That | agree to notify AMERICAN FAMILY MUTUAL INSURANCE
COMPANY should any of the above information change.

WILLIAM SMITH

SUBSCRIBED and SWORN to before me on
this day of , 2015.

Notary Public, in and for said
County and State

4813-1443-5876.1
Case 2:13-cv-00551-JCM-NJK. Document 22. Filed. 12/09/15. Page 30 of 46.

DEFENDANT AMERICAN FAMILY MUTUAL
INSURANCE COMPANY’S MOTION TO
ENFORCE SETTLEMENT

EXHIBIT “E”
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RELEASE AND INDEMNITY AGREEMENT
for WILLIAM J. SMITH

WHEREAS:

A. The Release Agreement. This Release and Indemnity Agreement is sometimes

referred to herein as “this Agreement.”

B. The Accident. Plaintiff William Smith (“Smith” or “Plaintiff’) alleges that he sustained
personal injuries and other damages as a result of an automobile accident which occurred
on February 17, 2007 when a vehicle driven by Tanya Morro (the “Tortfeasor’) rear-ended
Plaintiff's vehicle (“the Accident’).

C. The Policy. On the date of the Accident, Smith was the named insured under a
policy of motor vehicle insurance issued by American Family Mutual Insurance Company
(“American Family”), Policy No. 1165-9939-07-FPPA-NV (the “Policy”). The Policy included
Underinsured Motorist (“UIM”) coverage of $100,000/$300,000. On the date of the
Accident, the Tortfeasor was insured under a policy of motor vehicle insurance issued by
Mercury Insurance with Bodily Injury liability limits of $15,000 (the “Tortfeasor’s Policy’).
E. The Prior Payments. Mercury paid to Smith the Fifteen Thousand and No/100

Dollars ($15,000.00) per person Bodily Injury liability limits available under the Tortfeasor’s
Policy. American Family paid $5,000.00 in benefits under the Medical Payments coverage
of the Policy. These payments shall be referred to as the “Prior Payments”. Thus, Plaintiff
has received a total of $20,000.00 in Prior Payments prior to payment of the amount of
Thirty-Four Thousand Three Hundred Seventy-Six and 75/100 Dollars ($34,376.75).

D. The UIM Claim. Plaintiff has asserted a claim for UIM benefits under the Policy (the

“UIM Claim’).
E. The Lawsuit. On February 14, 2013, Smith filed a lawsuit in the Eighth Judicial
District Court of Nevada, entitled William Smith v. American Family Mutual Insurance

Company, Case No. A-13-676815-C, alleging causes of action for Breach of Contract (the

4819-6653-8020.1 Release and Indemnity Agreement
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“Lawsuit’). On April 1, 2013, AFMIC removed the Lawsuit to the United States District
Court for the District of Nevada, where it is pending as Case No. 2:13-cv-0551-JCM-NJK.

F, The Settlement. Smith and American Family intend by this Agreement to resolve

any and all actual and potential claims arising out of the Accident, the Policy, the UIM
Claim, and the Lawsuit as memorialized herein.
NOW THEREFORE, IT IS AGREED:

1. The New Payment. American Family agrees to pay the sum of Thirty-Four

Thousand Three Hundred Seventy-Six and 75/100 Dollars ($34,376.75) to “William Smith
and Richard Harris Law Firm” (the “New Payment’).

2. Conditions Precedent. As conditions precedent to the Payment, (1) Smith

must execute this Agreement and (2) Smith must dismiss the Lawsuit with prejudice, with
each party to bear its own fees and costs.

3. Sole Recovery. Smith understands and agrees that the Prior Payment and

the New Payment shall constitute his only recovery from American Family for any and all
actual or potential claims arising from the Accident, the Policy, the UIM Claim, and the

Lawsuit

4. The Release. Smith hereby waives, releases, and forever discharges any

and all actual or potential claims against the persons and entities named in Subsection “a”
below arising out of the Accident, the Policy, and the UIM Claim which were or could have

been alleged in the Lawsuit:

a. Persons/Entities Released. The following persons and entities are

released: American Family, including its past and present employees, as well as its
past, present and future parent and subsidiary companies, affiliates, predecessors,
successors, assigns, spouses, officers, directors, agents, servants, employees,
attorneys, legal representatives, heirs, executors, administrators, beneficiaries,

personal representatives, and insurers (the “Releasees’).

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b.

Claims Released. Releasees are hereby released and discharged

fully and completely from and against any and all liability, rights, claims, demands,

actions, judgments, and/or causes of action, in law or in equity, statutory or common

law, contractual or extra-contractual, known or unknown, past present or future,

claimed or unclaimed, direct or indirect, fixed or contingent, liquidated or uncertain,

latent or patent, of any kind whatsoever, arising out of or in any way relating to the

Accident, the Policy, and the UIM Claim whether such claims seek:

Cc.

i) Bodily injury, personal injury, wrongful death, property,
compensatory, emotional, consequential, pecuniary, general, special,
economic, hedonic, punitive, or exemplary damages;

ii) Attorneys’ fees, costs, or prejudgment or post-judgment
interest; or

iii) Any other measure or theory of damages actually or allegedly
recoverable under law or equity, whether or not actually alleged in the
Lawsuit, arising out of the Accident, the Policy, and the UIM Claim.

Claims Not Released. No Party releases any right provided under this

Agreement, or the right to sue to enforce this Agreement or any of its terms.

5. Future and Unknown Claims Released. There may arise in the future injuries

or damages of which Smith is not presently aware, and Smith intends to release the

Releasees as to all rights in any way connected with any such injuries or damages which

may become known in the future arising out of the Accident, the Policy, and the UIM Claim.

Part of the New Payment is made to compensate Smith for any injury or damages which

may become known in the future.

6. Denial of Liability. Smith understands and agrees that neither the New

Payment nor the execution of this Agreement constitutes an admission of liability on the

part of American Family; that the Prior Payment and New Payment are made in

4819-6653-8020.1 Release and Indemnity Agreement

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compromise and full settlement of disputed claims; and that the Releasees expressly deny

any and all liability.

7. No Representations Made. No representation of any kind concerning any

subject has been made by or on behalf of any of the Releasees which has in any way
influenced Smith’s decision to enter into this Agreement.

8. Reliance on Own Counsel. In entering into this Agreement, Smith represents

that he has relied upon the legal advice of an attorney, who is the attorney of his own
choice, that the terms of this Agreement have been completely read and explained to him
by that attorney, and that he fully understands and voluntarily accepts those terms.

9. Warranty. Smith hereby warrants and covenants that he is over the legal age
of majority in the State of Nevada and in the State where this Agreement is executed if
other than Nevada.

10. Binding on Others. Smith agrees to and does hereby bind himself and his

attorneys, legal representatives, successors, heirs, administrators, executors, assigns, and
personal representatives to this Agreement and to each of its terms and conditions.

11. | Execution of Documents. Smith agrees to execute all documents and to do all

things necessary to fully effectuate the terms of this Agreement.

12. Post-Execution Survival. The representations, warranties, agreements, and

promises made in this Agreement shall survive the execution of this Agreement.

13. Costs and Fees. Each party to this Agreement agrees to bear his/its own

costs and attorneys’ fees with respect to the Accident, the Policy, the UIM Claim, and the
Lawsuit, and with respect to the negotiation, drafting, and execution of this Agreement.

14. | Execution in Parts/Counterparts. This Agreement may be executed in any

number of counterparts, each of which shall be deemed to be an original, and all of which

together shall be deemed one and the same instrument. This Agreement is not and shall

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not be effective, however, unless and until each party executes the original and/or a

counterpart.

15. Signatory Representations. Each of the undersigned declares and represents

that he/she is competent to execute this instrument and that he/she is duly authorized and
has the full right and authority to execute this Agreement on behalf of the party for whom
he/she is signing.

16. Amendments, Modifications, Addendums, and Revisions. No amendment,

modification, addendum, or revision of this Agreement shall be valid unless it is in writing
and signed by all of the Parties, in which event there need be no separate consideration
therefore.

17. Waiver. No waiver or indulgence of any breach of this Agreement shall be
deemed or construed as a waiver of any other breach or of any other provision of this
Agreement, nor shall any such breach affect the enforceability of any part or all of this
Agreement. No party shall be deemed to have waived any portion of this Agreement unless
executed in writing by the waiving party.

18. Satisfaction of Liens. Smith hereby warrants, represents, and covenants that

any outstanding liens for health care or other services provided to Smith arising out of or in
any way relating to the injuries he allegedly suffered arising from the Accident, the Policy,
the UIM Claim, and the Claims Handling will be satisfied by Smith out of the New Payment.
This provision includes liens that have been or may be or could have been asserted by any
and all attorneys, health care providers, and/or health care insurers.

19. Agreement to indemnify Against Liens. In further exchange for the execution

of this Agreement and the New Payment:
a. Smith hereby covenants and agrees to defend, hold harmless, and
indemnify American Family from any and all further, additional, or future liability, loss,

damages, or expenses (including attorneys’ fees) incurred because of any legal action or

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threat of legal action which Smith might bring or which might be brought on Smith’s behalf
and/or brought by creditors or lienholders as a result of the expenses which Smith incurred
as a result of the Accident, the Policy, and the UIM Claim. This provision includes liens that
have been or may be asserted by any and all attorneys, health care providers, and/or health
Care insurers.

b. Releasees shall have the sole and exclusive right to select counsel and
to control the defense of such action, and Smith shall be obligated to pay for the reasonable
costs of such defense and to pay any judgment entered against Releasees or reasonable
settlement reached by Releasees with respect to such claims.

20. Medicare’s Interests. It is not the purpose of this Agreement to shift

responsibility of medical care in this matter to the Medicare program. Instead, this
settlement is intended to resolve a dispute between the Plaintiff and the Defendant.
(A) Conditional Payments
1. Not a Medicare Recipient for Medical Expenses Paid for b ry
New Payment. Because no part of the New Payment issued to
Plaintiff is to compensate Plaintiff for any medical expenses
related to medical treatment paid for by Medicare, no
conditional payments have been made by Medicare.
(B) Future Medicals
1. No Future Medicals Warranted. This claim does not meet
Medicare's current review thresholds as described in the July
11, 2005 and April 24, 2006 Medicare Policy Memoranda. As
such, this claim does not require review and/or approval from
CMS. If the claim had met the review thresholds, a submission

would have been made for a $0.00 allocation for future care

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based on ((a) the disputed nature of the claim, or (b) the lack of
anticipated medical care).

21. Agreement to Indemnify Against Actions Brought by Medicare or Other

Governmental Entities. Smith will defend, hold harmless, and indemnify the Releasees

from any and all further, additional, or future liability, loss, damages, or expenses, including
attorneys’ fees, incurred because of any legal action or threat of legal action which
Medicare, Medicaid, or any other governmental agency might bring with respect to any
claim to reimbursement for any benefits actually or purportedly paid in connection with the
Accident. Releasees shall have the sole and exclusive right to select counsel and to control
the defense of such action, and Smith shall be obligated to pay for the reasonable costs of
such defense and to pay any judgment entered against Releasees or reasonable settlement
reached by Releasees with respect to such claims.

22. Assignmentof Claims. Smith represents, warrants, and agrees that he is the

lawful owner of the right, title, and interest in and to every claim or matter released herein
and has not assigned or transferred, nor purported to or attempted to assign or transfer, to
any person or entity any claim or other matter released herein. Smith warrants that he will
not in the future assign or transfer any claim or other matter released herein and will
defend, indemnify, and hold American Family harmless from any and all claims arising out
of or relating to any assignment or transfer and/or any purported or attempted assignment
or transfer contrary to the terms of this paragraph.

22. Other Actions, Suits, Proceedings, or Claims. Smith and his attorneys agree

that they have not and will not commence, maintain, initiate, prosecute, or cause,
encourage, assist, advise, or cooperate with any other person or entity to commence,
maintain, initiate, or prosecute any action, suit, proceeding, or claim before any court,

administrative, or quasi-legal body or agency (whether state, federal, private, or otherwise)

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against American Family, or any of them, from, concerned with, or otherwise related to the

Accident, the Policy, or the UIM Claim.

23. Laws of Nevada Apply. The Parties understand and agree that the law of the

State of Nevada governs the terms and enforceability of this Agreement.

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Page 8 of 9
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24. Use of Titles. The Parties understand and agree that the titles used in this
Agreement are for purposes of organization only, and are not to be considered as terms of
this Agreement, nor are they to be used in interpretation of this Agreement or the intention

of the Parties entering into this Agreement.

| HAVE READ THE AGREEMENT IN ITS ENTIRETY, UNDERSTAND IT AND SIGN IT
VOLUNTARILY.

DATED this day of , 2015.
William J. Smith
STATE OF NEVADA )
)ss.
COUNTY OF )
BEFORE ME, a Notary Public, on this ___ day of , 2015, personally

appeared William J. Smith, known to me to be the person named herein, and who executed
the foregoing “Release and Indemnity Agreement,” and who acknowledged that he
voluntarily executed the same.

NOTARY PUBLIC in and for said
COUNTY and STATE

APPROVED AS TO FORM AND CONTENT:

RICHARD HARRIS LAW FIRM

Richard Harris, Esq.

Nevada Bar No. 505

801 South Fourth Street

Las Vegas, Nevada 89101

Attorneys for Plaintiff William J. Smith

CLOWARD HICKS & BRASIER, PLLC

Alison Brasier, Esq.

Nevada Bar No. 10522

721 S. 6" Street

Las Vegas, NV 89101

Attorneys for Plaintiff William J. Smith

4819-6653-8020.1 Release and Indemnity Agreement
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_ DEFENDANT AMERICAN FAMILY MUTUAL
INSURANCE COMPANY’S MOTION TO
ENFORCE SETTLEMENT

EXHIBIT “F”
Case 2:13-cv-00551-JCM-NJK Document 22 Filed 12/09/15 Page 41 of 46

LEWIS 6385 S. Rainbow Boulevard, Suite 600

R Las Vegas, Nevada 89118
BRISBO!S Telephone: 702.893.3383
& SMITHLLP = Fax: 702.893.3789
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ROBERT.FREEMAN@LEWI!SBRISBOIS.COM

PAMELA L. McCGAHA L spusst tH
DIRECT DIAL: 702.693.1706 wad pice Atti gait

PAMELA. MCGAHA@LEWISBRISBOIS.COM

VIA FACSIMILE and E-MAIL

Alison M. Brasier, Esq.

CLOWARD HICKS & BRASIER, PLLC
721s. 6" STREET

Las Vegas, Nevada 89101

Re: AmFam adv. William J. Smith
Date of Loss: February 17, 2007

Dear Ms. Brasier:

As you know, we have made multiple attempts to obtain the signed Medicare
Affidavit from your client without success. Pursuant to our recent phone call, we
understand your client has not yet executed the Medicare Affidavit. Given the complexity
of your client’s case, American Family requires confirmation from him that Medicare has no
recovery right to any of the proceeds he will receive pursuant to the arbitration award.
American Family is waiting for confirmation of this status before it is able to issue the
settlement draft. Please advise your client that without his cooperation, American Family
may be required to file a motion to enforce the terms of the Binding Arbitration Agreement
so it can issue payment to your client in exchange for a Release and Indemnification
Agreement and Stipulation to dismiss the lawsuit executed by your client, per the terms of

the Binding Arbitration Agreement.

if we do not receive the executed Medicare Affidavit by September 10, 2015, or
other sufficient assurance that your client will cooperate in providing executed settlement
documents, we will assume the only means of finalizing this matter is to file a motion to
enforce the terms of the Binding Arbitration Agreement. If we are required to file such
motion, we will also seek to recover fees and costs as a result of needing to file the motion.

ALBUQUERQUE * ATLANTA © BEAUMONT BOSTON * CHARLESTON * CHICAGO * DALLAS © DENVER * FORT LAUDERDALE * HOUSTON + LA QUINTA
LAFAYETTE © LAS VEGAS «LOS ANGELES » MADISON COUNTY * NEW ORLEANS © NEWYORK * NEWARK * ORANGE COUNTY « PHILADELPHIA « PHOENIX
PORTLAND © PROVIDENCE © SACRAMENTO » SAN BERNARDINO ¢ SAN DIEGO * SAN FRANCISCO « SEATILE « TAMPA * TEMECULA ¢ TUCSON * WICHITA
4828-2218-7815.1
Case 2:13-cv-00551-JCM-NJK Document 22 Filed 12/09/15 Page 42 of 46

August 31, 2015

Page 2

Thank you for your time and attention to this matter.

RWEF:PLM/kf

Very truly yours,

Robert W. Freeman of

Pamela L. McGaha of
LEWIS BRISBOIS BISGAARD & SMITH LLP

4828-2218-7815.1

LEWIS BRISBOIS BISGAARD & SMITH LLP. * www. lewisbrisbois.com
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VIA FACSIMILE and E-MAIL

Alison M. Brasier, Esq.

CLOWARD HICKS & BRASIER, PLLC
721s. 6" STREET

Las Vegas, Nevada 89101

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As you know, we have made multiple attempts to obtain the signed Medicare
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so it can issue payment to your client in exchange for a Release and indemnification
Anraamant ann Ctiniulatinn ta diemicc the lawenit execiited hv vaur client. per the terms of

Case 2:13-cv-00551-JCM-NJK Document 22. Filed 12/09/15 Page 44 of 46

DEFENDANT AMERICAN FAMILY MUTUAL —
INSURANCE COMPANY’S MOTION TO
ENFORCE SETTLEMENT

~ EXHIBIT “G”
LEWIS
BRISBOIS
BISGAARD
& SMITH LLP

ATTORNEYS AT LAW

Cag

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ROBERT W. FREEMAN
Nevada Bar No. 3062
PAMELA L. MCGAHA
Nevada Bar No. 8181
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Las Vegas, Nevada 89118
702.893.3383
FAX: 702.893.3789
Attorneys for Defendant
American Family Mutual Insurance Company

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
WILLIAM J. SMITH, CASE NO: 2:13-cv-0551-JAD-NJK
Plaintiff, STIPULATION AND ORDER FOR

DISMISSAL WITH PREJUDICE
vs.

AMERICAN FAMILY MUTUAL
INSURANCE COMPANY; DOES 1 though
10, inclusive,

Defendants.

IT IS HEREBY STIPULATED, by and among Plaintiff WILLIAM J. SMITH and
Defendant AMERICAN FAMILY MUTUAL INSURANCE COMPANY, by and through their
respective counsel of record, that all of the claims and causes of action against
Defendant AMERICAN FAMILY MUTUAL INSURANCE COMPANY In the above-entitled
action shall be dismissed, with prejudice, each party to bear their own attorneys fees and

costs.

4820-4732-5220.1

LEWIS
BRISBOIS
BISGAARD
& SMITH LIP

ATTORNEYS AT LAW

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IT IS FURTHER STIPULATED AND AGREED that the parties may obtain, if

applicable, the return of their jury demand fees previously submitted to the Court.

DATED this day of July, 2015. DATED this __ day of July, 2015.
LEWIS BRISBOIS BISGAARD & SMITH RICHARD HARRIS LAW FIRM

Robert W. Freeman, Jr., Esq. Richard Harris, Esq.
Nevada Bar No. 3062 Nevada Bar No. 505
Pamela L. McGaha, Esq. 721 South 6" Street
Nevada Bar No. 8181 Las Vegas, Nevada 89101
6385 S. Rainbow Bivd., Suite 600 Attorneys for Plaintiff
Attorney for Defendant WILLIAM J. SMITH
American Family Mutual Insurance

Company

CLOWARD HICKS & BRASIER, PLLC

Alison Brasier, Esq.

Nevada Bar No. 10522

721 S. 6" Street

Las Vegas, NV 89101

Attorneys for Plaintiff William J. Smith

IT SO ORDERED.
DATED this __ day of , 2015.

UNITED STATES DISTRICT COURT JUDGE

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